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                                               EXHIBIT A
       Parties’ Proposed Constructions for Claim Terms in U.S. Patent No. 6,724,435 (the “’435
                                               Patent)


No.    Claim Terms                   Plaintiff’s Proposed               Defendants’ Proposed
                                     Construction                       Construction

1.     “individual color”            A linear combination of colors     A linear combination of colors or
                                     or color components, such as       color components.
                                     red, green, blue, yellow, cyan,
                                     and magenta.

2.     “without affecting the hue    See “individual color,” “hue”      Ordinary meaning (incorporating the
       or the saturation of any      and “saturation.”                  construction of “individual color”).
       other individual color”
                                     without affecting the hue or the
                                     saturation of any other
                                     individual color, that was not
                                     selected to be changed

3.     “arbitrary interval of        A range between two whole          Ordinary meaning.
       integers”                     numbers

4.     “Characterizing”              Not indefinite.                    Indefinite.

                                     Plain and ordinary meaning.



                                     Or, in the alternative:

                                     Specifying

5.     “Input image pixel”           Plain and ordinary meaning.        Image data including an integer row,
                                                                        an integer column, and color
                                                                        component values for each of red,
                                                                        green, and blue.
6.     “Forming a corresponding      No construction necessary.         Forming a plurality of output image
       plurality of output image                                        pixels that each correspond to one of
       pixels having said selected                                      the plurality of input image pixels
       individual color”                                                that have said selected individual
                                                                        color in the real time digital video
                                                                        input image with the hue or the
                                                                        saturation selected to be

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                                                                           independently changed, the output
                                                                           image pixels having said selected
                                                                           individual color.
7.     “By performing arithmetic         Not indefinite. Plain and         Indefinite as to whether this clause
       and logical operations”           ordinary meaning.                 modifies “identifying,” “changed,”
                                                                           or both terms,
8.     “Evaluating” and                  Not indefinite. Plain and         Indefinite.
       “Evaluated”                       ordinary meaning.

9.     “viewer”                          Graphic user interface (GUI)      Indefinite – illustrates that method
                                         menu display, configured on a     steps are performed by a human as
                                         man-machine interaction           discussed below.
                                         (MMI) mechanism.
10.    As applied to Claim 17: The       Not indefinite. Claim 17          Indefinite – A claim that “recites
       combination of method steps       contains permissible functional   both a system and a method for
       and system elements in a          limitations that describe the     using that system” is invalid as
       single system claim:              system by reciting its            indefinite. IPXL, 430 F.3d at 1384.
       operating said master control     capabilities. MasterMine
       device . . .;                     Software, Inc. v. Microsoft
       selecting an independent          Corp., 874 F.3d 1307, 1313
       color hue control delta value     (Fed. Cir. 2017).
       or an independent color
       saturation control delta value
       . . .;
       identifying a plurality of said
       input image pixels . . .;
       determining corresponding
       output image pixel values . .
       .;
       displaying a real time digital
       video output image . . .




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